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              [NOT YET SCHEDULED FOR ORAL ARGUMENT]

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

ROBERT L. PUGH, et al.,

                       .Plaintiffs-Appellees,

                      Vo

                                                       Nos. 08-5387, 08-5388
SOCIALIST PEOPLE’S LIBYAN ARAB
JAMAHIRIYA, et al.,

   Defendants-Appellants/Cross-Appellees,

ABDALLAH SENOUSSI, et al.,

                     Defendants-Appellants.

           UNITED STATES’ MOTION TOINTERVENE,
     VACATE JUDGMENT, AND DISMISS SUIT WITH PREJUDICE

      In light of the Libyan Claims Resolution Act, Pub. L. No. 110-301,122 Star.

2999 (2008), the Claims Settlement Agreement Between the United States of America

and the Great Socialist People’s Libyan Arab Jamahiriya, and the President’s espousal

in Executive Order 13477 of the terr0rism-related claims of U.S. nationals against

Libya, the United States respectfully seeks to intervene in this appeal as plaintiff-

appellee, to vacate the district COUl~’S judgment in this case, and to dismiss this suit

with prejudice. Counsel for the Libyan state and official defendants-appellants-cross-

appellees have authorized us to say that their clients consent to the relief requested
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in this motion. Counsel for plaintiffs-appellees informed us that he must consult with

his clients and cannot take a position on the relief requested until he does so.

      Intervention is warranted here because the United States has espoused the

terrorism-related claims of U.S. nationals against Libya, including plaintiffs’ claims.

The United States’ espousal is pursuant to a claims settlement agreement with the

Libyan government, reached as part of a restoration of diplomatic relations with

Libya, and involving payment by Libya of a large sum for the benefit of U.S.

nationals. In espousing the claims against Libya, the United States has made the

plaintiffs’ claims its own. Because the United States is now the real party in interest,

the Court Should permit it to intervene in this suit as plaintiff-appellee. The Court

should also vacate the district court’s judgment and should dismiss this suit with

prejudice. Vacatur of the judgment is necessary to ensure that the judgment has no

future legal consequences that could cause the United States to breach its obligations

to Libya under the claims settlement agreement. And dismissal is appropriate

because the President has directed that pending suits asserting terrorism-related

claims against Libya be te~xninated; because, under the Libyan Claims Resolution

Act, U.S. Courts no longer have jurisdiction over terrorism-related claims against

Libya; and because Congress has eliminated any private right of action against Libya

for terrorism-related claims.
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                                   STATEMENT’

      1. On September 19, 1989, a suitcase bomb exploded on Union des Transports

Aeriens Flight 772, over the Tenere Desert in Niger, killing the 170 passengers and

crew on board. Plaintiffs in this case are the estates of the seven United States citizen

decedents, 44 of their immediate family members, and Interlease, the company that

owned the aircraft destroyed in the blast. Plaintiffs sued Libya and six high-ranking

Libyan officials, alleging that Libya was behind the bombing. Plaintiffs brougtit suit

under the terrorism exception to foreign sovereign immunity established by the

Foreign Sovereign Immunities Act (FSIA). 28 U.S.C. § 1604 (establishing general

immunity of foreign sovereigns from the jurisdiction ofU.S, courts); id. § 1605(a)(7)

(establishing exception to foreign sovereign immunity for state-sponsored terrorism). 1

      .The district court granted plaintiffs’ motion for summary judgment and held

that the defendants were liable for the United States’ victims’ deaths. Pugh v.

Socialist People’s Libyan Arab Jamahiriya, No. 02-02026, 2006 WL 2384915 (May

6, 2006). In January 2008, the district court awarded th~ plaintiffs approximately



      ~ Congress repealed Section 1605(a)(7) and replaced it with 28 U.S.C. § 1605A
while this case was pending. National Defense Authorization Act for Fiscal Year
2008 (NDAA), Pub. L. No. 110-181, § 1083, 122 Stat. 338 (codified in part at 28
U.S.C. § 1.605A)~. In Simon v. Iraq, 529 F.3d 1187 (D.C. Cir. 2008), cert. granted,
No. 08-539 (Jan. 9, 2009), this Court held that Congress did not eliminate Section
1605(a)(7) as a basis for jurisdiction over claims pending under that provision at the
time of the NDAA’s enactment.
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$1.7 billion against Libya, and $5.7 billion against the individual Libyan officials.

Pugh v. Socialist People’s Libyan Arab Jarnahiriya, 530 F. Supp. 2d 216 (D.D.C.

2008). Libya and the individual defendants appealed.2 At the parties’ joint request,

this Court stayed the appeal on October 10, 2008. The appeal remains stayed.

      2. Until recently, the United States and Libya had hostile relations. In 1972,

the United States withdrew its ambassador to Libya. See Bureau of Near Eastern

Affairs, Dep’t of State, Background Note: Libya (Oct. 2007), available at

http://www.state.gov/r/pa/ei/bgn/5425.htm. In 1979, the United States withdrew its

remaining embassy staff and designated Libya a state sponsor of terrorism. Ibid. In

1981, the United States expelled Libya’s diplomatic representatives to the United

States. Ibid. And following Libya’s acts of terrorism in the 1980s, the United States

imposed significant sanctions on Libya, "including a total ban on direct import and

export trade, commercial contracts, and travel-related activities." Ibid. It also froze

Libyan assets in the United States. See E.O. 12543 (Jan. 7, 1986). Also in the 1980s,


      2 Initially, Interlease cross-appealed, to contest the district court’s earlier
dismissal of some if its claims. When the NDAA was enacted, plaintiffs filed a
motion in district court to convert their judgment to one under the new Section
1605A, under a provision allowing for such conversion in certain circumstances, See
NDAA § 1083(c)(2)(A). This Court vacated the district court’s judgment and
remanded the case to the district court for consideration of plaintiffs’ conversion
motion. See Order, Nos. 08-7029, 08-7035, 08-7036 (Aug. 1; 2008). Plaintiffs
subsequently withdrew their conversion motion and the district court reentered its
original judgment. Libya and the individual defendants again appealed, but Interlease
did not.
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 Libya and the United States had instances of low-level armed conflict. Background

 Note: Libya.

       In December 2003, Libya announced its intention to rid itself of weapons of

 mass destruction. Ibid. It has since worked toward that goal in cooperation wi~h the

 United States, the United Kingdom, and various international organizations. Ibid.

 In response, the United States began to normalize its relations with Libyal In

 September 2004, the President terminated many of the United States’ sanctions

 against Libya. E.O. 12543 (Sept. 20, 2004). In 2004, the United States reestablished

 a diplomatic mission in Libya, as did Libya in the United States. Background Note:

¯ Libya. Both missions were upgraded to embassies in 2006. Ibid.; see Secretary of

 State Condoleezza Rice, U.S. Diplomatic Relations With Libya (May 15, 2006)

 (announcing "full diplomatic relations with Libya’’), available at http://www.state

 .gov/secretary/rm/2006/66235.htm. The United States also removed Libya from its

 list of state sponsors of terrorism. See 71 Fed. Reg. 39696 (July 13, 2006).

       3. By summer of 2008, there were many plaintiffs with pending suits against

 Libya for terrorism-related conduct. They sought hundreds of millions of dollars in

 damages. As part of its rapprochement with the United States, Libya sought to settle

 all terrorism-related claims against it on a state-to-state basis with the United States.

 Seeking speedy and just compensation for its citizens and further normalization of
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relations with Libya, the State Department entered into negotiations with Libya for

a resolution of all such claims.

      Congress supported the Executive Branch’s negotiations with Libya. On

August 4, 2008, Congress enacted the Libyan Claims Resolution Act, Pub. L. No.

110-301, 122 Stat. 2999 (2008) (Attachment 1). The Act’s "Sense of Congress"

provision states that "Congress supports the President in his efforts to provide fair

compensation to all nationals of the United States who have terrorism-relatedclaims

against Libya through a comprehensive settlement of claims by such nationals against

Libya pursuant to an international agreement between the United States and Libya as

a part of the process of restoring normal relations between Libya and the United.

States." Id. § 3.

      Section 5 of the act authorizes the Secretary of State to certify to Congress that

the United States has received from Libya sufficient funds to fully compensate

plaintiffs with m’ongful death and physical injury claims under the terms of purported

(but contested) settlements between plaintiffs and Libya in two suits involving the

Pan Am 103 and La Belle Discotheque incidents -- cases specifically identified in

the legislation -- and to provide "fair compensation" for the wrongful death and

physical injury claims of other U.S. nationals with terrorism-related cases pending




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against Libya on the date of the statute’s enactment. Id. § 5(a)(2)(B).3 Upon the

Secreta13~’s certification (which was made on October 31, 2008), the statute made

inapplicable to Libya the terrorism-based exceptions to foreign sovereign immunity.

Id. § 5(a)(1)(A). Libya thus became immune from suit for terrorism-related claims,

including in pending cases, such as this one. The statute also eliminated any cause

of action for terrorism-related claims "against Libya, or any of its agencies,

instrumentalities, officials, employees, or agents." Id. § 5(a)(1)(B).

      Congress made clear that the statute applies to pending cases, regardless of

when they were filed. A "Temporal Scope" provision states that the provisions

restoring Libya’s imrnunity and eliminating any right of action "shall apply only with

respect to any conduct or event occurring before June 30, 2006, regardless of

whether, or the extent to which, application of that subsection affects any action filed

before,.on, or after that date." Pub. L. No. 110-310, § 5(b).4


       3 Section 5(a)(2)(B)(i) of the Act refers to "payment of the settlements referred
to in section 654(b)of division J of the Consolidated Appropriations Act, 2008
(Public Law 110-161; 121 Stat. 2342)." Section 654(b), in turn, specifically
identifies the settlements with certain plaintiffs in suits concerning the Pan Am 103
and La Belle Discotheque incidents.
        4 The United States removed Libya from the list of state’sponsors of terrorism
on June 30, 2006. 71 Fed. Reg. 39696. Since a foreign sovereign’s immunity from
suit is eliminated for terrorism-related claims only if the state has been designated a
state sponsor of terrorism or is so designated as a result of the conduct complained
of (see 28 U.S.C. § 1605A(a)(2)), the statute thus fully restored Libya’s immunity
from suit for any terrorism-related claims.
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      On August 14, 2008, the United States and Libya entered into an international

agreement, the purpose of which was to settle all terrorism-related claims against

Libya in U.S. courts, and all claims against the United States in Libyan courts related

to the United States’ military actions against Libya in the 1980s. Claims Settlement

Agreement Between the United States of America and the Great Socialist People’s

Libyan Arab Jamahiriya (Claims Settlement Agreement), Art. I (Attachment 2).

Under the agreement, Libya’s payment of$1.5 billion to the United States constitutes

a full and final settlement of all terrorism-related claims by the United States or its

nationals against Libya. Id. Art. III(1), Annex (4). The Claims Settlement Agreement

prohibits payment to claimants unless covered suits are first dismissed. Id. Annex

(6). And the agreement imposes on the United States the obligation, upon receipt of

the specified funds, to terminate suits pending in U.S. courts that are covered by the

agreement. Id. Art. III(2).

      On October 31, 2008, the Secretary of State made the certification authorized

by Section 5 of the Libyan Claims Resolution Act, that the United States had received

from Libya funds sufficient to pay the claims identified in the legislation (Attachment

3). The same day, the President issued Executive Order 13477 (Attachment 4), which

settled all claims within the terms of the Claims Settlement Agreement. The

executive order expressly espoused U.S. nationals’ claims coming within the terms

of the Claims Settlement Agreement. E.O. 13477 § l(a). It prohibits U.S. nationals

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from "assert[ing] or maintain[ing] any claim within the terms of Article I [of the

Claims Settlement Agreement] in any forum, domestic or foreign, except under the

procedures provided for by the Secretary of State." Id. § 1 (a)(i). The order directs

that °°[a]ny pending suit in any court, domestic or foreign, by United States nationals

(including any suit with a judgment that is still subject to appeal or other forms of

direct judicial review) coming within the terms of Article I shall be terminated." Id.

§ 1 (a)(ii).

        The executive order instructs the Secretary of State to "provide for procedures

governing applications by United States nationals with claims within the terms of

Article I for compensation for those claims." Id. § l(a)(iii). And it directs the

Attorney General to "enforce this subsection through all appropriate means, which

may include seeking the dismissal, with prejudice, of any claim of a United States

national within the terms of Article I pending or filed in any forum, domestic or

foreign.’’5 Id. § l(a)(iv).

        Pursuant to the executive order, the State Department is establishing

procedures for receiving applications for compensation from U.S. nationals who have

alleged terrorism-related injuries attributable to Libya, and whose claims come within


      5 The executive order settles the terrorism-related claims of foreign nationals
against Libya pending in U.S. courts, but it does not preclude foreign nationals from
pursuing other available remedies in foreign courts or through foreign governments.
E.O. 13477 § l(b).
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the Claims Settlement Agreement. Because the applicable compensation claims for

wrongful death from Libyan terrorist activities are finite and identifiable, the State

Department determined that it would itself receive applications and make payments

for those claims. Under the purported settlements identified by Congress in the

legislation, such claims were to be paid at $10 million per death. The State

Department determined that $10 million per death would be "fair compensation"

(Pub. L. No. 110-301, § 5(a)(2)(B)) for the other wrongful death claims, such as those

at issue in this case, that are not covered by settlements with Libya. Consistent with

the United States’ obligation under the Claims Settlement Agreement, the State

Department requires as a precondition of payment evidence of dismissal of the

terrorism suit against Libya. Under the State Department’s procedures, dismissal of

a particular plaintiff’s claims against Libya is insufficient; the agency requires

dismissal of the entire suit against Libya.

      In sum, Congress and the President agreed that resolving outstanding terrorism-

related claims against Libya was necessax2¢ for the further development of the United

States’ diplomatic relations with that nation, so long as Libya would provide

sufficient funds to fairly compensate U.S. victims of terrorism who alleged Libyan

responsibility. The Executive Branch thus entered into a claims settlement agreement

with Libya, and Libya paid the United States $1.5 billion, as required by the

agreement. As a result of the President’s espousal of U.S. nationals’ terrorism-related

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claims against Libya and the immunity provisions of the Libya Claims Resolution

Act, claims against Libya such as those at issue in this case are no longer justiciable.

U.S. nationals with claims covered by the Claims Settlement Agreement must instead

seek compensation from the United States through administrative proceedings

established by the Secretary of State for any terrorism-related injuries caused by

Libya.

                                     ARGUMENT

         1. The United States’ authority to espouse the claims of its nationals against

a foreign sovereign is well established in international and domestic law. As

then-Judge Scalia explained in an opinion for this Court:

      Under well-established principles of international law, a sovereign
      possesses the absolute power to assert the private claims of its nationals
      against another sovereign. This authority to espouse claims does not
      depend on the consent of the private claimholder, and the fact that a
      claim has been espoused provides a complete defense for the defendant
      sovereign in any action by the private individual. Once it has espoused
      a claim, the sovereign has wide-ranging discretion in disposing of it. It
      may compromise it, seek to enforce it, or waive it entirely. Final
      settlement between the sovereigns wipes out the underlying debt and
      releases the defendant sovereign from all obligation except as the
      settlement agreement may provide.

Asoci~tcion de Reclamantes v. United Mexican States, 735 F.2d 1517, 1523 (D.C. Cir.

1987) (citations, quotation and alteration marks omitted).

         The principle of espousal is equally well-established in our domestic law. For

over 200 years, the United States has espoused the claims of its nationals against
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foreign states and foreign states’ nationals. See Am. Ins. Ass ’n v. Garamendi, 539

U.S. 396, 415 (2003) (noting 1799 agreement between the Adams Administration and

the Dutch Government as the first example of espousal by executive agreement).

While some settlements were effected through joint action by the President and the

Senate through a treaty, "there has also been a longstanding practice of settling such

claims by executive agreement without the advice and consent of the Senate." Dames

&Moore v. Regan, 453 U.S. 654, 679 (1981); seeMedellin v. Texas, 128 S. Ct. 1346,

1371 (2008). (recognizing President’s authority to make "executive agreements to

settle civil claims between American citizens and foreign governments or foreign

nationals").

      The Supreme Court has upheld the President’s espousal power as part of the

United States’ establishment of diplomatic relations with a foreign nation, and thus

as part of the President’s constitutional authority to recognize foreign sovereigns.

Thus, in United States v. Pink, 315 U.S. 203 (1942), the Supreme Court upheld the

President’s espousal of U.S. nationals’ claims against the Soviet Union, as part of this

Nation’s establishment of diplomatic relations with that country. The Court

explained that

      [n]o * * * obstacle can be placed in the way of rehabilitation of relations
      between this country and another nation, unless the historical conception
      of the powers and responsibilities of the President in the conduct of
      foreign affairs is to be drastically revised. It was the judgment of the
      political department that full recognition of the Soviet Government

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      required the settlement of all outstanding problemfi including the claims
      of our nationals. Recognition and [the executive agreement] were
      interdependent. We would usurp the executive function if we held that
      that decision was not final and conclusive in the courts.

315 U.S. at 230; see also United States v. Belmont, 301 U.S. 324 (1937); cf Banco

Nacional de Cuba v. Sabbatino, 376 U.S. 398, 410 (1964) ("Political recognition [of

a foreign sovereign] is exclusively a function of the Executive."). The Supreme Court

has also upheld claims settlements outside the context of recognizing foreign

sovereigns, where it found °°that Congress has implicitly approved the practice of

claim settlement by-executive agreement." Dames & Moore, 453 U.S. at 680-82.

      2. Against this background, the United States’ espousal of its nationals’

terrorism-related claims against Libya and its officials is well founded. The Claims

Settlement Agreement and the United States’ espousal of U.S. nationals’ terrorism-

related claims against Libyaare part of this Nation’s "rehabilitation of relations

between this country and another nation." Pinlc, 315 U.S. at 230. The Claims

Settlement Agreement is expressly premised on the two countries’ desire "to furttier

the process of normalization of relations." Claims Settlement Agreement, Intro. So

was the President’s subsequent espousal of U.S. nationals’ claims, and Congress’

enactment of the Libyan Claims Resolution Act. E.O. 13477, Intro. (settling claims

against Libya "to continue the process of normalizing relations between the United

 States and Libya"); see also Pub. L. No. 110-310, § 3 (expressing support for


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President’s efforts to enter a claims settlement agreement as "a part of the process of

restoring normal relations between Libya and the United States"). And the resolution

of claims against Libya was critical to a further development in the diploinatic

relations between Libya and the United States: the confirmation of the United States’

ambassador to Libya. Compare Lautenberg, Menendez, Schumer, Clinton to Block

Bush Appointment to Libya: Senators Say U.S. Should Not Pursue Diplomatic

Recognition of Libya Until Victims of Libyan Terror are Compensated (press release)

(July 12, 2007) (Attachment 5); with Office of the Spokesman, Department of State,

Confirmation of Gene A. Cretz as Ambassador to Libya (Nov. 28, 2008), available

at http ://www.state.gov/r/pa/prs/ps/2008/n0v/112462.htm.

      The President’s espousal of U.S. nationals’ terrorism-related claims against

Libya is thus an unexceptional exercise of the President’s constitutional authority to

recognize foreign sovereigns and to establish diplomatic relations. See Pink, 315 U.S.

at 229 ("[p]ower to remove * * * obstacles to full recognition as settlement of claims

of our nationals certainly is a modest implied power of the President[’s]" recognition

power).

      Moreover, Congress has explicitly endorsed the President’s efforts to settle the

terrorism-related claims of U.S. nationals against Libya. Pub. L. No. 110-301, § 3

("support[ing]the President[’s]" efforts to. provide fair compensation for U.S.

nationals with terrorism-related claims against Libya through "an international

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agreement" that would effect"a comprehensive settlement of claims"). The President

and Coa~gress share the Nation’s foreign affairs powers under the Constitution. See

Garamendi, 539 U.S. at 414-15. In espousing U.S. nationals’ terrorism-related

claims against Libya, the President acted "pursuant to an express or implied

authorization of Congress." See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

579, 635 (1952) (Jackson, J., concurring). Accordingly, "his authority is at its

maximum, for it includes all that he possesses in his own right plus all that Congress

can delegate." Ibid. Thus, the President’s espousal of terrorism claims against Libya

is "supported by the strongest of presumptions and the widest latitude of judicial

interpretation, and the burden of persuasion would rest heavily upon any who might

attack it." Ibid.

       3. Because the United States has espoused plaintiffs’ claims, it is appropriate

for it to intervene in this case. By espousing plaintiffs’ claims, the United States

divested plaintiffs of any interest they have in those claims, except to the extent the

United States chooses to recognize a continued interest -- here, the right to seek

compensation from the United States under procedures established by the Secretary

of State. By espousing the claims, the United States made them its own, and it has

discretion to "compromise [them], seek to enforce [them], or waive [them] entirely."

Asociacion de Reclamantes, 735 F.2d at 1523. Accordingly, the United States is now



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the real party in interest in this suit, and it should be permitted to intervene to seek

vacatur of what is now its judgment and dismissal of what is now its suit.

      In addition, the United States is under an international obligation to terminate

covered suits against Libya. Claims Settlement Agreement, Art. III(2). That

obligation is itself sufficient to confer party status in this suit on the United States.

Sanitary Dist. of Chicago v. United States, 266 U.S. 405,425 (1925) ("[The United

States] has a standing in this suit * * * to carry out its treaty obligations to a foreign

power."); Roeder v. Islamic Republic of Iran, 333 F.3d 228,.232-34 (D.C. Cir. 2003)

(affirming district court order authorizing the United States to intervene as of right

to uphold its obligations under an executive international agreement, which would be

violated if plaintiffs obtained a judgment against the foreign sovereign).

      4. The Court should vacate the district court’s judgment and dismiss this suit

with prejudice.

      a. Vacatur of a district court judgment is an equitable remedy. Humane Soc ’y

of the United States v. Kempthorne, 527 F.3d 181, 187 (D.C. Cir. 2008). Here, the

equities strongly favor vacatur. Vacatur is in the interest of the United States and

Libya, now the real parties in interest in this case. The United States and Libya

entered into a bilateral agreement under which Libya would pay the United States

$1.5 billion. In exchange, the United States undertook the international obligation

to "terminate permanently all pending suits (including suits with judgments that are

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still subject to appeal or other forms of direct judicial review)" involving terrorism-

related claims against Libya. Claims Settlement Agreement, Art. I (emphasis added).

In order to prevent the district court’s judgment "from spawning any legal

consequences," thereby putting the United States in breach of its international

obligations and depriving Libya of the benefit 0f its agreement, vacatur of the

judgement is necessary. United States v. Munsingwear, Inc., 340 U.S. 36, 41 (1950);

see Loughlin v. United States, 393 F.3d 155, 171 (D.C. Cir. 2004) (vacating district

court judgment to prevent it from spawning legal consequences "irrespective of

whether such consequences are irmninent or remote" (quotation marks omitted)). By

contrast, plaintiffs do not have a cognizable interest in maintaining the district court’s

judgment, because, by espousing their claims in this case, the United States divested

plaintiffs of any legal interest in those claims (except insofar as plaintiffs may present

their claims to the United States).

       In addition, vacatur is in the public interest. Cf. United States Bancorp

Mortgage Co. v. Bonner Mall Partnership, 513 U.S. 18, 26 (1994) ("As always when

federal courts contemplate equitable relief, our holding must also take account of the

public interest."). Enabling the United States to abide by its international

commitments is self-evidently in the public’s interest. Cf Sanitary Dist. of Chicago,

266 U.S. at 425. And while precedentialjudicial decisions are "presumptively correct

and valuable to the legal community as a whole" (Bonnet Mall, 513 U.S. at 26),

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district court decisions are not precedential. See Russman v. Board of Educ. of

Enlarged City School Dist. of City of Watervliet, 260 F.3d 114, i22 (2d Cir. 2001)

(explaining that vacatur of district court decision does not undermine public value of

precedent because district court decisions have only persuasive authority). Similarly,

while vacatur would not serve the public interest in "a case in which a litigant is

attempting to manipulate the courts to obtain the relief it was not able to win in the

judicial System," this is not such a case. Humane Soc ’y of the .United States, 527 F.3d

at 188. Accordingly, the district court’s judgment should be vacated.

       b. Finally, the Court should dismiss this suit with prejudice. Dismissal is

required for three reasons. First, the United States has espoused the claims at issue

in this suit and has settled them. E.O. 13477, § l(a) ("Claims of United States

nationals within the terms of Article I are espoused by the United States and are

settled according to the terms of the Claims Settlement Agreement."). Accordingly,

there remains no case or controversy concerning these claims against Libya, and the

federal courts lack subject matter jurisdiction over them. See Nuclear Info. &

Resource Serv. v. Nuclear Regulatory Comm ’n, 509 F.3d 562, 567 (D.C. Cir. 2007)

("Under Article III of the Constitution, federal courts have jurisdiction only to decide

cases or controversies.").

       Second, dismissal is required because Libya and the Libyan official defendants

are immune from suit for terrorism-related claims under the FSIA. The Libyan

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Claims Resolution Act restored. Libya’s immunity from suit and that of Libya’s

agencies or instrumentalities, upon the Secretary of State’s certification that the

United States has received sufficient funds to ensure both the payment of specified

settlements and "fair compensation" of other U.S. nationals’ claims against Libya.

Pub. L. No. 110-310, § 5(a)(1)(A). As noted, the Secretary provided the requisite

certification on October 31, 2008. Accordingly, there is no applicable exception to

foreign sovereign .immunity under which Libya or the individual Libyan official

defendants may be sued.6 The FSIA is "the sole basis for obtaining jurisdiction over

a foreign state in federal court." Argentine Republic v. Amerada Hess Shipping

Corp., 488 U.S. 428, 439 (1989). And the FSIA provides for jurisdiction over suits

against a foreign state only when an exception to foreign sovereign immunity applies.

28 U.S.C. § 1330(a). Accordingly, the federal courts do not possess jurisdiction to

adjudicate this suit against the Libyan defendants, and the suit should be dismissed.

Moreover, because the jurisdictional defects in this case cannot be cured, dismissal

with prejudice is required.

      Finally, the Libyan Claims Resolution Act has eliminated any private right of

action against Libya for terrorism-related claims. Pub. L. No. 110-301, § 5(a)(I)(B).


      6 Under the law of this Circuit, a foreign official who "acts in his official
capacity for the state" qualifies as an "agency or instrumentality" of the state within
the meaning of the FSIA, and so is entitled to the immunity from suit provided by that
statute. Belhas v. Ya’alon, 515 F.3d 1279, 1283 (D.C. Cir. 2008).
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The statute makes clear that the elimination of all rights of action applies to all

conduct occurring before June 3 0, 2006 (such as the conduct at issue in this case), and

"regardless of whether, or the extent to which" the elimination of the right of action

"affects any action filed before, on, or after that date." Id. § 5(b). Accordingly,

dismissal would be required even if the courts continued to have jurisdiction over

claims such as those presented here. See Landgrafv. USIFilrn Products, 511 U.S.

244, 273 (1994) ("[A] court should apply the law in effect at the time it renders its

decision." (quotation marks omitted)); ibid. (noting that there is no conflict between

the foregoing principle and the presumption against retroactivity, when Congress

makes clear its intention that the statute apply retroactively).

                                  CONCLUSION

      For the foregoing reasons, the Court should grant the United States’ motion to

intervene, it should vacate the district court’s judgment, and it should dismiss this suit

with prejudice.

                                 Respectfully submitted,

                                        DOUGLAS N. LETTER                . ~---~-..
                                        LEWIS S. YELIN ~
                                         Attorney, Appe l lata/Staff--
                                         Civil Division
                                         United States Department of Justice
                                         950 Pennsylvania Avenue, NW, Rm. 7322
                                         Washington, D.C. 20530
                                         (202) 514-3425
January9,2009

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of January, 2009, I caused the foregoing

United States’ Motion to Intervene, Vacate Judgment, and Dismiss Suit with

Prejudice to be filed with the Court and served on counsel by causing an original and

four copies to be delivered via HAND DELIVERY to:

      Mark Langer, Clerk of the Court
      United States Court of Appeals
       for the District of Columbia Circuit
      E. Barrett Prettyman US Courthouse
      333 Constitution Avenue, NW, Rm. 5423
      Washington, DC 20001-2866
      202-216-7000

and by causing one copy to be delivered via OVERNIGHT DELIVERY (courtesy

copy by e-mail) to:

       Stuart H. Newberger                    Alex Blanton
       Michael L. Martinez                    Alan M. Freeman
       Laurel Pyke Malson                     BlaNc Rome LLP
       Crowell & Moring LLP                   600 New Hampshire Ave., NW
       1001 Pennsylvania Ave., NW             Washington, DC 20037
       Washington, DC 20004                   202-772-5909
       202-624-2500


       Eric L. Lewis
       A. Katherine Toomey
       1201 F Street NW, Ste. 500
       Washington, DC 20004
       202-833-8900
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                                                      Attachment 1
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                                                                                     PUBLIC LAW 110–301—AUG. 4, 2008                                            122 STAT. 2999




                                                                 Public Law 110–301
                                                                 110th Congress
                                                                                                              An Act
                                                                    To resolve pending claims against Libya by United States nationals, and for other                    Aug. 4, 2008
                                                                                                       purposes.                                                              [S. 3370]
                                                                     Be it enacted by the Senate and House of Representatives of
                                                                 the United States of America in Congress assembled,                                                   Libyan Claims
                                                                                                                                                                       Resolution Act.
                                                                 SECTION 1. SHORT TITLE.                                                                               28 USC 1605A
                                                                                                                                                                       note.
                                                                        This Act may be cited as the ‘‘Libyan Claims Resolution Act’’.
                                                                 SEC. 2. DEFINITIONS.                                                                                  28 USC 1605A
                                                                                                                                                                       note.
                                                                        In this Act—
                                                                             (1) the term ‘‘appropriate congressional committees’’ means
                                                                        the Committee on Foreign Relations and the Committee on
                                                                        the Judiciary of the Senate and the Committee on Foreign
                                                                        Affairs and the Committee on the Judiciary of the House of
                                                                        Representatives;
                                                                             (2) the term ‘‘claims agreement’’ means an international
                                                                        agreement between the United States and Libya, binding under
                                                                        international law, that provides for the settlement of terrorism-
                                                                        related claims of nationals of the United States against Libya
                                                                        through fair compensation;
                                                                             (3) the term ‘‘national of the United States’’ has the
                                                                        meaning given that term in section 101(a)(22) of the Immigra-
                                                                        tion and Nationality Act (8 U.S.C. 1101(a)(22));
                                                                             (4) the term ‘‘Secretary’’ means the Secretary of State;
                                                                        and
                                                                             (5) the term ‘‘state sponsor of terrorism’’ means a country
                                                                        the government of which the Secretary has determined, for
                                                                        purposes of section 6(j) of the Export Administration Act of
                                                                        1979 (50 U.S.C. App. 2405(j)), section 620A of the Foreign
                                                                        Assistance Act of 1961 (22 U.S.C. 2371), section 40 of the
                                                                        Arms Export Control Act (22 U.S.C. 2780), or any other provi-
                                                                        sion of law, is a government that has repeatedly provided
                                                                        support for acts of international terrorism.
                                                                 SEC. 3. SENSE OF CONGRESS.                                                                            28 USC 1605A
                                                                                                                                                                       note.
                                                                      Congress supports the President in his efforts to provide fair
                                                                 compensation to all nationals of the United States who have ter-
                                                                 rorism-related claims against Libya through a comprehensive settle-
                                                                 ment of claims by such nationals against Libya pursuant to an
                                                                 international agreement between the United States and Libya as
                                                                 a part of the process of restoring normal relations between Libya
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                                                                 and the United States.




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                                                                 122 STAT. 3000                            PUBLIC LAW 110–301—AUG. 4, 2008
                                                                 28 USC 1605A            SEC. 4. ENTITY TO ASSIST IN IMPLEMENTATION OF CLAIMS AGREE-
                                                                 note.                            MENT.
                                                                                              (a) DESIGNATION OF ENTITY.—
                                                                 Federal Register,                 (1) DESIGNATION.—The Secretary, by publication in the
                                                                 publication.                 Federal Register, may, after consultation with the appropriate
                                                                                              congressional committees, designate 1 or more entities to assist
                                                                                              in providing compensation to nationals of the United States,
                                                                                              pursuant to a claims agreement.
                                                                                                   (2) AUTHORITY OF THE SECRETARY.—The designation of an
                                                                                              entity under paragraph (1) is within the sole discretion of
                                                                                              the Secretary, and may not be delegated. The designation shall
                                                                                              not be subject to judicial review.
                                                                                              (b) IMMUNITY.—
                                                                                                   (1) PROPERTY.—
                                                                                                        (A) IN GENERAL.—Notwithstanding any other provision
                                                                                                   of law, if the Secretary designates any entity under sub-
                                                                                                   section (a)(1), any property described in subparagraph (B)
                                                                                                   of this paragraph shall be immune from attachment or
                                                                                                   any other judicial process. Such immunity shall be in addi-
                                                                                                   tion to any other applicable immunity.
                                                                                                        (B) PROPERTY DESCRIBED.—The property described in
                                                                                                   this subparagraph is any property that—
                                                                                                             (i) relates to the claims agreement; and
                                                                                                             (ii) for the purpose of implementing the claims
                                                                                                        agreement, is—
                                                                                                                   (I) held by an entity designated by the Sec-
                                                                                                             retary under subsection (a)(1);
                                                                                                                   (II) transferred to the entity; or
                                                                                                                   (III) transferred from the entity.
                                                                                                   (2) OTHER ACTS.—An entity designated by the Secretary
                                                                                              under subsection (a)(1), and any person acting through or on
                                                                                              behalf of such entity, shall not be liable in any Federal or
                                                                                              State court for any action taken to implement a claims agree-
                                                                                              ment.
                                                                                              (c) NONAPPLICABILITY OF THE GOVERNMENT CORPORATION CON-
                                                                                         TROL ACT.—An entity designated by the Secretary under subsection
                                                                                         (a)(1) shall not be subject to chapter 91 of title 31, United States
                                                                                         Code (commonly known as the ‘‘Government Corporation Control
                                                                                         Act’’).
                                                                 28 USC 1605A            SEC. 5. RECEIPT OF ADEQUATE FUNDS; IMMUNITIES OF LIBYA.
                                                                 note.
                                                                                                (a) IMMUNITY.—
                                                                                                     (1) IN GENERAL.—Notwithstanding any other provision of
                                                                                                law, upon submission of a certification described in paragraph
                                                                                                (2)—
                                                                                                          (A) Libya, an agency or instrumentality of Libya, and
                                                                                                     the property of Libya or an agency or instrumentality of
                                                                                                     Libya, shall not be subject to the exceptions to immunity
                                                                                                     from jurisdiction, liens, attachment, and execution con-
                                                                                                     tained in section 1605A, 1605(a)(7), or 1610 (insofar as
                                                                                                     section 1610 relates to a judgment under such section
                                                                                                     1605A or 1605(a)(7)) of title 28, United States Code;
                                                                                                          (B) section 1605A(c) of title 28, United States Code,
                                                                                                     section 1083(c) of the National Defense Authorization Act
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                                                                                                     for Fiscal Year 2008 (Public Law 110–181; 122 Stat. 342;




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                                                                                     PUBLIC LAW 110–301—AUG. 4, 2008                                            122 STAT. 3001

                                                                          28 U.S.C. 1605A note), section 589 of the Foreign Oper-
                                                                          ations, Export Financing, and Related Programs Appropria-
                                                                          tions Act, 1997 (28 U.S.C. 1605 note), and any other private
                                                                          right of action relating to acts by a state sponsor of ter-
                                                                          rorism arising under Federal, State, or foreign law shall
                                                                          not apply with respect to claims against Libya, or any
                                                                          of its agencies, instrumentalities, officials, employees, or
                                                                          agents in any action in a Federal or State court; and
                                                                               (C) any attachment, decree, lien, execution, garnish-
                                                                          ment, or other judicial process brought against property
                                                                          of Libya, or property of any agency, instrumentality, offi-
                                                                          cial, employee, or agent of Libya, in connection with an
                                                                          action that would be precluded by subparagraph (A) or
                                                                          (B) shall be void.
                                                                          (2) CERTIFICATION.—A certification described in this para-
                                                                     graph is a certification—
                                                                               (A) by the Secretary to the appropriate congressional
                                                                          committees; and
                                                                               (B) stating that the United States Government has
                                                                          received funds pursuant to the claims agreement that are
                                                                          sufficient to ensure—
                                                                                    (i) payment of the settlements referred to in section
                                                                               654(b) of division J of the Consolidated Appropriations
                                                                               Act, 2008 (Public Law 110–161; 121 Stat. 2342); and
                                                                                    (ii) fair compensation of claims of nationals of the
                                                                               United States for wrongful death or physical injury
                                                                               in cases pending on the date of enactment of this
                                                                               Act against Libya arising under section 1605A of title
                                                                               28, United States Code (including any action brought
                                                                               under section 1605(a)(7) of title 28, United States Code,
                                                                               or section 589 of the Foreign Operations, Export
                                                                               Financing, and Related Programs Appropriations Act,
                                                                               1997 (28 U.S.C. 1605 note), that has been given effect
                                                                               as if the action had originally been filed under 1605A(c)
                                                                               of title 28, United States Code, pursuant to section
                                                                               1083(c) of the National Defense Authorization Act for
                                                                               Fiscal Year 2008 (Public Law 110–181; 122 Stat. 342;
                                                                               28 U.S.C. 1605A note)).
                                                                     (b) TEMPORAL SCOPE.—Subsection (a) shall apply only with
                                                                 respect to any conduct or event occurring before June 30, 2006,
                                                                 regardless of whether, or the extent to which, application of that
                                                                 subsection affects any action filed before, on, or after that date.
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                                                                 122 STAT. 3002                             PUBLIC LAW 110–301—AUG. 4, 2008

                                                                                             (c) AUTHORITY OF THE SECRETARY.—The certification by the
                                                                                         Secretary referred to in subsection (a)(2) may not be delegated,
                                                                                         and shall not be subject to judicial review.

                                                                                               Approved August 4, 2008.




                                                                                         LEGISLATIVE HISTORY—S. 3370:
                                                                                         CONGRESSIONAL RECORD, Vol. 154 (2008):
                                                                                              July 31, considered and passed Senate and House.

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                                                      Attachment 3
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                                                      Attachment 4
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                                                                                                                                                                                65965

                                                Federal Register                                    Presidential Documents
                                                Vol. 73, No. 215

                                                Wednesday, November 5, 2008



                                                Title 3—                                            Executive Order 13477 of October 31, 2008

                                                The President                                       Settlement of Claims Against Libya


                                                                                                    By the authority vested in me as President by the Constitution and the
                                                                                                    laws of the United States of America, and pursuant to the August 14,
                                                                                                    2008, claims settlement agreement between the United States of America
                                                                                                    and Libya (Claims Settlement Agreement), and in recognition of the October
                                                                                                    31, 2008, certification of the Secretary of State, pursuant to section 5(a)(2)
                                                                                                    of the Libyan Claims Resolution Act (Public Law 110–301), and in order
                                                                                                    to continue the process of normalizing relations between the United States
                                                                                                    and Libya, it is hereby ordered as follows:
                                                                                                    Section 1. All claims within the terms of Article I of the Claims Settlement
                                                                                                    Agreement (Article I) are settled.
                                                                                                       (a) Claims of United States nationals within the terms of Article I are
                                                                                                    espoused by the United States and are settled according to the terms of
                                                                                                    the Claims Settlement Agreement.
                                                                                                          (i) No United States national may assert or maintain any claim within
                                                                                                          the terms of Article I in any forum, domestic or foreign, except under
                                                                                                          the procedures provided for by the Secretary of State.
                                                                                                          (ii) Any pending suit in any court, domestic or foreign, by United
                                                                                                          States nationals (including any suit with a judgment that is still sub-
                                                                                                          ject to appeal or other forms of direct judicial review) coming within
                                                                                                          the terms of Article I shall be terminated.
                                                                                                          (iii) The Secretary of State shall provide for procedures governing ap-
                                                                                                          plications by United States nationals with claims within the terms of
                                                                                                          Article I for compensation for those claims.
                                                                                                          (iv) The Attorney General shall enforce this subsection through all ap-
                                                                                                          propriate means, which may include seeking the dismissal, with prej-
                                                                                                          udice, of any claim of a United States national within the terms of
                                                                                                          Article I pending or filed in any forum, domestic or foreign.
                                                                                                       (b) Claims of foreign nationals within the terms of Article I are settled
                                                                                                    according to the terms of the Claims Settlement Agreement.
                                                                                                          (i) No foreign national may assert or maintain any claim coming with-
                                                                                                          in the terms of Article I in any court in the United States.
                                                                                                          (ii) Any pending suit in any court in the United States by foreign
                                                                                                          nationals (including any suit with a judgment that is still subject to
                                                                                                          appeal or other forms of direct judicial review) coming within the
                                                                                                          terms of Article I shall be terminated.
                                                                                                          (iii) Neither the dismissal of the lawsuit, nor anything in this order,
                                                                                                          shall affect the ability of any foreign national to pursue other avail-
                                                                                                          able remedies for claims coming within the terms of Article I in for-
                                                                                                          eign courts or through the efforts of foreign governments.
                                                                                                          (iv) The Attorney General shall enforce this subsection through all ap-
                                                                                                          propriate means, which may include seeking the dismissal, with prej-
                                                                                                          udice, of any claim of a foreign national within the terms of Article
                                                                                                          I pending or filed in any court in the United States.
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                                                                                                    Sec. 2. For purposes of this order:
                                                                                                       (a) The term ‘‘United States national’’ has the same meaning as ‘‘national
                                                                                                    of the United States’’ in section 101(a)(22) of the Immigration and Nationality
                                                                                                    Act (8 U.S.C. 1101(a)(22)), but also includes any entity organized under
                                                                                                    the laws of the United States or any jurisdiction within the United States
                                                                                                    (including foreign branches).


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                                                                                                      (b) The term ‘‘foreign national’’ means any person other than a United
                                                                                                    States national.
                                                                                                      (c) The term ‘‘person’’ means any individual or entity, including both
                                                                                                    natural and juridical persons.
                                                                                                      (d) The term ‘‘entity’’ means a partnership, association, trust, joint venture,
                                                                                                    corporation, group, subgroup, or other organization.
                                                                                                    Sec. 3. This order is not intended to, and does not, create any right or
                                                                                                    benefit, substantive or procedural, enforceable at law or in equity by any
                                                                                                    party against the United States, its departments, agencies, instrumentalities,
                                                                                                    or entities, its officers or employees, or any other person.




                                                                                                    THE WHITE HOUSE,
                                                                                                    Washington, October 31, 2008.


                                                [FR Doc. E8–26531
                                                Filed 11–4–08; 8:45 am]
                                                Billing code 3195–W9–P
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                                                      Attachment 5
Lautenberg, Menendez, Schumer, Clinton to Block Bush Appointment to...                  http://clinton.senate.gov/news/statements/details.cfm?id=278818&&
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                                                            July 12, 2007

                             Lautenberg, Menendez, Schumer, Clinton to Block Bush
                                            Appointment to Libya

                        Senators Say U.S. Should Not Pursue Diplomatic Recognition of Libya Until Victims of
                                                 Libyan Terror are Compensated

                       Washington, DC – Sen. Frank R. Lautenberg (D-NJ) today announced he would lead
                       a Senate coalition, including Sen. Robert Menendez (D-NJ), Sen. Charles Schumer
                       (D-NY) and Sen. Hillary Clinton (D-NY), to block the confirmation of Gene Kretz to be
                       Ambassador to Libya.

                       The Senators further announced that they would maintain their hold on Cretz’s
                       nomination until Libya fully compensates American victims of Libyan terrorist attacks
                       in the 1980’s.


                       "Libya has failed to fulfill financial commitments they made to American victims of
                       their terrorist acts," said Sen. Lautenberg, a member of the Senate Appropriations
                       Committee. "Libya voluntarily settled these claims. To not deliver on their promise is a
                       slap in the face to American families that have waited for years for accountability for
                       Libya's crimes. Libya must no longer be allowed to drag its feet and the U.S. must not
                       pursue fully normalized diplomatic relations with Libya until they fulfill their legal
                       obligations to American families.”

                       “A promise made must be a promise kept. Libya has not made good on its promise to
                       the victims of Pan Am Flight 103, and it must be held responsible,” said Sen.
                       Menendez. “Sending an ambassador to Libya is sending the wrong message to the
                       world about how the U.S. will tolerate terrorism and the murder of American citizens.
                       As we face a continuing terrorist threat, this is a message that we cannot afford to
                       deliver.”


                       "Until Libya fully compensates the Pan Am families, no U.S. ambassador should set
                       foot in Tripoli,” said Sen. Schumer, who is supporting the hold on Cretz’s nomination.
                       “We’re serious about improving relations, but Libya needs to show that it is too.
                       Paying off this long overdue debt would be a start.”

                       “Libya has been responsible for numerous murderous terrorist attacks against
                       American citizens over the past several decades. These attacks have caused unending
                       pain and suffering for Americans, especially the Pan Am families. We must pressure
                       Libya and President Qaddafi to settle the remaining terrorism cases against his
                       country before fully normalized diplomatic relations with the United States can take
                       place. That includes blocking the confirmation of the President’s nominee to be
                       Ambassador to Libya until these cases are resolved,” said Sen. Clinton

                       President Bush yesterday announced that he intends to nominate Cretz to be U.S.
                       Ambassador.


                       Last month, Sen. Lautenberg inserted a provision into legislation to block funding for a
                       U.S. Embassy in Tripoli, Libya until the Libyan government honors its financial
                       commitments to compensate America victims of Libyan terrorist attacks in the 1980s.

                       In 1988, Libyan terrorists killed 270 people in the Pan Am Flight 103 Lockerbie
                       bombing. The Libyan government acknowledged its role in the Lockerbie bombing in
                       2003 and committed to a settlement to each victim's family. To date, Libya has not
                       fulfilled its commitments.

                       In 1986, Libyan terrorists bombed the LaBelle discotheque in Berlin that killed two




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Lautenberg, Menendez, Schumer, Clinton to Block Bush Appointment to...                http://clinton.senate.gov/news/statements/details.cfm?id=278818&&
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                       American servicemen and injured 90 other service members. In 2006, Libya entered
                       into a settlement agreement with these victims and notified the State Department of
                       their intentions. To date, Libya has also not fulfilled its commitment.




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